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                              UNITED STATES DISTRICT COURT
09                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10
     UNITED STATES OF AMERICA,            )
11                                        )             Case No. CR00-0184-TSZ-003
                 Plaintiff,               )
12                                        )
           v.                             )             SUMMARY REPORT OF U.S.
13                                        )             MAGISTRATE JUDGE AS TO
     DANTE EULALIO NARTE,                 )             ALLEGED VIOLATIONS
14                                        )             OF SUPERVISED RELEASE
                 Defendant.               )
15   ____________________________________ )

16          An initial hearing on a petition for violation of supervised release was held before the

17   undersigned Magistrate Judge on May 4, 2006. The United States was represented by Assistant

18   United States Attorney Susan Roe, and the defendant by Mr. Todd Maybrown. The proceedings

19   were recorded on cassette tape.

20          The defendant had been sentenced on or about Marcy 9, 2001, to thirty-six (36) months

21   in custody to be followed by five (5) years of supervised release by the Honorable Thomas S.

22   Zilly on a charge of Conspiracy to Import and Distribute 100 or More Kilograms of Marijuana.

23          In addition to the standard conditions of supervised release, which include compliance

24   with all local, state, and federal laws, special conditions of supervised release were imposed.

25   These special conditions included, but were not limited to, participation in a substance-abuse

26   treatment program, consent to search and seizure procedures, no possession of firearms;

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
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01   subjection to mandatory drug testing, participation in drug testing, abstaining from the use of

02   alcohol, financial disclosure, cooperating with the Internal Revenue Service, and financial

03   disclosure.

04          In the Pretrial Petition for Warrant or Summons for Offender dated March 9, 2006, and

05   the Supplemental Violation Report dated March 29, 2005, Mr. Brian H. Rogers, U.S. Probation

06   Officer, alleges the following violations of defendant’s conditions of supervised release:

07          (1)     Failing to submit urine samples as directed on October 4, November 28,

08   November 21, 2005, and January 9, February 21, and March 6, 2006, in violation of the special

09   condition that he submit to drug testing to determine if he has reverted to the use of drugs or

10   alcohol.

11          (2)     Failing to submit monthly reports for the months of December 2005, January

12   2006, and February 2006.

13          (3)     Assault on March 8, 2006, in violation of the general conditions that he not

14   commit another federal, state, or local crime.

15          The defendant admitted to violations Nos. 1 and 2, and waived his rights to any

16   evidentiary hearing as to whether they occurred.

17          At the revocation hearing, the government dismissed alleged violation No. 3.

18          I therefore recommend that the Court find the defendant violated the conditions of his

19   supervised release as to violations Nos. 1 and 2, and that the Court conduct a hearing limited to

20   disposition of these violations.

21          A disposition hearing on violations Nos. 1 and 2 has been set before the Honorable

22   Thomas S. Zilly, for Thursday, May 25th, at 11:00 a.m.

23          Pending a final determination by the Court, the defendant has been released subject to

24   the continued terms of his supervised release.

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     VIOLATIONS OF SUPERVISED RELEASE
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                                                     A
01           DATED this 8th day of May, 2006.

02
                                                     JAMES P. DONOHUE
03                                                   United States Magistrate Judge
04

05   cc:     District Judge:           The Hon. Thomas S. Zilly
             AUSA:                     Ms. Susan Roe
06           Defendant’s attorney:     Mr. Todd Maybrown
07           Probation officer:        Mr. Brian Rogers

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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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